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 8                                 UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11    GERALD CARLIN, JOHN RAHM, PAUL                       Case No. 1:09-cv-00430-AWI-EPG
      ROZWADOWSKI and DIANA WOLFE,
12    individually and on behalf of themselves and all     ORDER FOLLOWING DISCOVERY
      others similarly situated,                           DISPUTE CONFERENCE
13                                     Plaintiffs,
14         v.                                              ORDER GRANTING MOTION TO
                                                           COMPEL
15    DAIRYAMERICA, INC., and CALIFORNIA
      DAIRIES, INC.                                        (ECF No. 532)
16                             Defendants

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18           On January 16, 2018, Plaintiffs Gerald Carlin, John Rahm, Paul Rozwadowski, and
19    Diana Wolfe (“Plaintiffs”), Defendant DairyAmerica, Inc. (“DairyAmerica”), and Defendant
20    California Dairies, Inc. (“California Dairies”) (collectively, the “Parties”) submitted objections
21    on the record to their respective opposing parties’ proposed list of deponents. (ECF Nos. 527-
22    29). Responses were filed on January 22, 2018. (ECF Nos. 534-35, 537.)
23           On January 18, 2018, Plaintiffs filed a Motion to Compel production of Navision
24    Database in Native Format. (ECF No. 532.) DairyAmerica filed a response in opposition to the
25    motion on January 22, 2018. (ECF No. 536.)
26           On January 26, 2018, the Court held discovery dispute conference and motion to compel
27    hearing. (ECF No. 539.) The Court issued specific rulings on the record, which are summarized
28    as follows:
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 1           1.      Plaintiff’s motion to compel (ECF No. 532) is GRANTED with the following

 2    parameters:

 3                   a. The production shall be limited to records concerning Non-Fat Dairy Milk or

 4                       Skim Milk Powder from the date range of the class period, January 1, 2002

 5                       through April 30, 2007; and

 6                   b. The production need not include accounts payable or payroll records.

 7           2.      DairyAmerica’s objection to the deposition of Henry Heerlyn is moot based on

 8    agreement among the parties;

 9           3.      California Dairies’ objection to the number of depositions sought by Plaintiffs as

10    not proportional to the needs of the case is overruled;

11           4.      California Dairies’ objections to the depositions of Jim Gomes and Christine

12    Edwards are moot based on agreement among the parties;

13           5.      California Dairies’ objection to the deposition of Duane Matheron is overruled;

14           6.      California Dairies’ objection to the deposition of Alma Moroni DeBruin is

15    overruled;

16           7.      Plaintiffs’ objection to the depositions of the named Plaintiffs is sustained, in part,

17    as follows: the depositions shall be limited to a time limit of four hours per named Plaintiff;

18           8.      Plaintiffs’ objection to the depositions of the former Third-Party Plaintiffs is
19    sustained.

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      IT IS SO ORDERED.
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22       Dated:     January 26, 2018                             /s/
                                                         UNITED STATES MAGISTRATE JUDGE
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